






NO. 07-04-0079-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JUNE 23, 2004



______________________________




IN THE INTEREST OF CHRISTYN SHANAE LUSTER, A CHILD



_________________________________



FROM THE 100TH DISTRICT COURT OF CARSON COUNTY;



NO. 9373; HONORABLE DAVID M. MCCOY, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	Appellant Shannon Luster filed a pro se notice of appeal challenging the trial court's
order terminating her parental rights to Christyn Shanae Luster. (1)  The clerk's record was
filed on March 4, 2004; however, no reporter's record was filed.  Appellant's brief was due
to be filed on April 5, 2004, but has yet to be filed and no motion for extension of time was
filed.  By letter dated June 1, 2004, this Court notified Luster at her address in the McIntosh
County Jail in Oklahoma of the missed deadline and also directed her to reasonably
explain the failure to file a brief with a showing that appellees William Darell Luster and
Lynn Lee Luster, the child's grandparents, have not been injured by the delay on or before
June 14, 2004.  The Court's letter was returned with a notation from the post office that
Luster was no longer at that address and had left no forwarding address.

	Accordingly, we dismiss this appeal for want of prosecution and failure to comply
with an order of this Court.  See&nbsp;Tex. R. App. P. 38.8(a)(1) and 42.3(b) and (c).

						Don H. Reavis

						    Justice

  



	
1. Luster recites in her notice of appeal that attorney Paul Shunatona is not her
attorney in this case.



in-top: 0px;
	margin-bottom: 1px
}

span.WPFloatStyle
{
	visibility: hidden;
	position: absolute;
	left: 10px;
	right: 10px;
	background-color: rgb(255, 255, 225);
	border-width: 1px;
	border-style: solid;
	border-color: black;
	margin-top: 25px;
	padding: 6px;
	line-height: normal
}

span.WPNormal
{
	font-family: "Arial", sans-serif;
	font-size: 12pt;
	font-weight: normal;
	font-style: normal;
	font-variant: normal;
	text-align: left;
	text-decoration: none;
	color: black;
	vertical-align: middle;
	text-indent: 0in
}

body
{
	font-family: "Arial", sans-serif;
	font-size: 12pt;
	font-weight: normal;
	font-style: normal
}





NO. 07-07-0135-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL B

JUNE 27, 2008
______________________________

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;IN THE ESTATE OF CHARLES MARK BERRY, SR., DECEASED
_________________________________

FROM THE PROBATE COURT NO. 1 OF TARRANT COUNTY;

NO. 05-3215-1; HONORABLE STEVE M. KING, JUDGE
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;_______________________________


Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Charles Mark Berry, Jr., as co-independent executor of his father’s estate, appeals
from an order of the probate court requiring that he turn over to his two sisters, also co-independent executors, a certain sum of estate funds.  Finding we are without jurisdiction
because the order of which Berry complains is interlocutory and not appealable by statute,
we will dismiss the appeal.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Charles Mark Berry, Sr. died testate at age one hundred.  His will, with a codicil, was
admitted to probate on the application of Berry.  In accordance with the codicil, the
testator’s three children, Berry and appellees Beverly Jane Douglass and Dixie Lee Boley
were appointed co-independent executors without bond.  Berry, an attorney licensed to
practice in Texas, appeared on his own behalf in probate proceedings while his sisters
retained an attorney who filed a notice of appearance in the case.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Berry filed an inventory, appraisment and list of claims valuing the probate estate
at $35,850.05.  The total included cash assets of $4,750.05, and an estimated income tax
refund of $6000.  Although not contained in the clerk’s record, argument before the probate
court indicates appellees also filed an inventory.  The record does not include an order
approving either inventory but from correspondence contained in the record it appears the
competing inventories each drew objections.  There is no record indication the probate
court has considered the objections.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees subsequently filed a document in the probate court denominated
“Application for Turnover Relief.”  They complained that despite their status as co-executors Berry unilaterally denied them access to “the vast majority of the Estate’s
assets.”  They requested an order compelling Berry turn over to them two-thirds of the
estate’s funds.  As grounds for their claim, appellees asserted their equal entitlement to
estate assets, the need to pay their attorney, and the desire to prevent a “wasteful drain
on Estate assets” caused by expected future requests for funds.  In a separate paragraph
of the motion, appellees requested attorney’s fees according to Probate Code section 245
for “Berry’s misdeeds alleged herein.”


  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Berry filed an answer and special exceptions, served written discovery, and sought
a jury trial.  When the court set the turnover motion for hearing, Berry objected to the
setting, moved for a continuance, and filed a plea to the jurisdiction. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On February 6, 2007, the probate court heard the turnover motion along with Berry’s
motion for continuance and plea to the jurisdiction.  The hearing was brief, consuming just
over nine pages of the reporter’s record.  Evidence was not received.  After hearing the
arguments of the parties, the court verbally denied Berry’s motion for continuance and plea
to the jurisdiction, ordered “two-thirds of the assets of the estate transferred” to appellees,
and ordered mediation of the case.  The court made no ruling on appellees’ request for
attorney’s fees. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On February 20, 2007, the court signed an “order for turnover” finding two-thirds of
the estate “assets” should be “turned over” to appellees.  The decretal section required
Berry to deliver $7,236.04 to appellees “payable to the Estate.”  The order made no
mention of the remaining two-thirds of the estate assets nor did it contain a ruling on
appellees’ request for attorney’s fees under section 245.  It did, however, memorialize the
court’s February 6 verbal order compelling mediation.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record does not contain findings of fact and conclusions of law or evidence of
their request.  Berry timely noticed an appeal.  
&nbsp;
Issue
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Berry presents three issues on appeal.  By cross-point, appellees argue we lack
jurisdiction because the trial court’s order is interlocutory and not a type for which
interlocutory appeal is permitted.


  It is to the question of our jurisdiction that we turn first.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Probate Code states “[a]ll final orders of any court exercising original probate
jurisdiction shall be appealable to the courts of appeals.”  Tex. Prob. Code Ann. § 5(g)
(Vernon Supp. 2007).   Probate proceedings present an exception to the “one final
judgment rule,”


 as “multiple judgments final for purposes of appeal can be rendered on
certain discrete issues.”  Lehmann v. Har-Con Corp., 39 S.W.3d 191, 192 (Tex. 2001)
(citing Crowson v. Wakeham, 897 S.W.2d 779, 783 (Tex. 1995)).  The Probate Code
specifies some probate court orders are final and appealable, but contains no general rule
defining a “final order” appealable under section 5(g).  Bozeman v. Kornblit, 232 S.W.3d
261, 262 (Tex.App.–Houston [1st Dist.] 2007, no pet.).  In Crowson v. Wakeham, 897
S.W.2d 779 (Tex. 1995), the Supreme Court of Texas adopted the following standard
distinguishing final, appealable probate court orders from nonappealable interlocutory
orders:
if there is an express statute, such as the one for the complete heirship
judgment, declaring the phase of the probate proceedings to be final and
appealable, that statute controls. Otherwise, if there is a proceeding of which
the order in question may logically be considered a part, but one or more
pleadings also part of that proceeding raise issues or parties not disposed
of, then the probate order is interlocutory.
&nbsp;
897 S.W.2d at 783; see Brittingham Sada De Ayala v. Mackie, 193 S.W.3d 575, 578 (Tex.
2006) (quoting and applying Crowson).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;No one contends an express probate code provision declares an order like that at
issue here is final and appealable.  The parties disagree on the ultimate effect of the order,
and thus disagree on the phase of this independent administration into which the order
falls.  Berry contends the order effects a directed distribution of assets of the estate.  His
reply brief emphasizes that such an order is not permissible in an independent
administration until two years have expired from the date of the order appointing the
independent executor.


  Appellees characterize the order as necessary to the performance
of their duties as co-independent executors, including the duty to pay attorney’s fees
incurred in connection with administration of the estate.  Their turnover application cited
Probate Code section 242 in support of their contention they were entitled to have their
attorney’s fees paid as administration expenses, and complained that Berry refused to
deliver estate funds “for such payment . . . .”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We express no opinion on the proper characterization of the trial court’s order. 
Regardless whether it effects a distribution or simply orders that each of the co-independent executors have possession of a share of the estate’s funds during
administration, we find it interlocutory.  Berry supports his contention that the order is
appealable as a decree of partition and distribution with citation to In re Padilla, 103
S.W.3d 563 (Tex.App.–San Antonio 2003, no pet.).  In Padilla the trial court tried a 
successor independent executrix’s misappropriation claims against her predecessor and 
heard an application for partition and distribution of the estate.  It thereafter entered a
decree that the appellate court found addressed all the relief requested for the
misappropriation, and identified the persons entitled to a share of the estate and the
percentage to which each was entitled.  It found the decree was a final appealable
judgment.  Id. at 566.  The order at issue here requires Berry to deliver $7,236.04 to
appellees.  As noted, the record before us contains Berry’s inventory valuing the probate
estate at $35,850.05.  The record also reflects disagreement over the inventory.  If the
order is one for distribution, it manifestly does not resolve all the issues necessary to
achieve finality on the distribution of the estate.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;If one accepts appellees’ characterization of the order as placing estate assets in
their hands to allow them to pay their reasonable and necessary attorney’s fees, one must
consider that Berry has contended that appellees’ attorney has represented them
individually and not in their capacity as executors, and that the turnover application was an
effort to require him to bear a share of the cost of their attorney’s fees.  The contentions
raise issues not resolved by the court’s order, compelling the conclusion it is interlocutory
under the test in Crowson, 897 S.W.2d at 783.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Moreover, as noted, by their turnover application, appellees also sought attorney’s
fees incurred as a result of their brother’s failure to deliver two-thirds of the estate to them. 
Whether Berry engaged in conduct justifying an award according to Probate Code section
245 will require evidence of neglect and resulting costs.  Cf. Fillion v. Osborne, 585 S.W.2d
842, 846 (Tex.Civ.App.–Houston [1st Dist.] 1979, no writ) (dependent administration).  As
noted also, the probate court did not receive evidence at the hearing, and the order is silent
on the issue of appellees’ section 245 request for attorney’s fees.  For this reason also, the
turnover order is interlocutory.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We find the order did not dispose of all issues in the phase of the proceeding for
which it was brought.  De Ayala, 193 S.W.3d at 578.  We conclude the order is
interlocutory, lacking the attributes necessary for appealability under section 5[g]. 
Moreover, the interlocutory order is not made appealable by statute.  Accordingly,
expressing no opinion on the propriety of the trial court’s “order for turnover,” we sustain
appellees’ cross-point and dismiss the appeal for want of subject matter jurisdiction.  
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice





